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   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                       LOS ANGELES DIVISION
11

12 In re                                                  Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                              Chapter 11

14                     Debtor and Debtor in               DEBTOR’S NOTICE OF MOTION AND
                       Possession.                        MOTION FOR ORDER APPROVING
15                                                        COMPROMISE BETWEEN DEBTOR
                                                          AND SOUND EQUITY INC.;
16                                                        MEMORANDUM OF POINTS AND
                                                          AUTHORITIES AND DECLARATION OF
17                                                        ZHAO PU YANG IN SUPPORT
                                                          THEREOF
18
                                                          Date:   August 2, 2023
19                                                        Time:   10:00 a.m.
                                                          Crtrm.: 1568
20                                                                255 E. Temple Street
                                                                  Los Angeles, California 90012
21

22            PLEASE TAKE NOTICE that on August 2, 2023 at 10:00 a.m., or as soon thereafter as

23 the matter may be heard, debtor and debtor in possession Jinzheng Group (USA) LLC (the

24 “Debtor”), will and hereby does move the Court pursuant to Rule 9019 of the Federal Rules of

25 Bankruptcy Procedure (the “Motion”), for an order approving the Debtor’s compromise with

26 Sound Equity Inc. (“Sound”).

27            Subject to Court approval, the Debtor and Sound have entered into an agreement (the

28 “Agreement”) to resolve their disputes regarding certain proceeds held in escrow since the Debtor’s

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 1 sale of its interest in real property located at 150 East La Sierra Drive, Arcadia, CA 91006 (the

 2 “Property”). A copy of the Agreement is attached as Exhibit “1” to the declaration of Zhao Pu

 3 Yang. The Agreement provides, among other things, that:

 4            1.       The escrowed funds will be split between the Debtor and Sound equally.

 5            2.       The Debtor and Sound will exchange mutual releases of liability relating to the

 6 escrowed funds.

 7            The Debtor believes that the terms of the Agreement are in the best interest of the estate and

 8 its creditors, and should be approved by the Court.

 9            The Motion is based upon the separately filed Notice, this Notice of Motion and Motion,

10 the Memorandum of Points and Authorities, the Declaration of Zhao Pu Yang, and the papers and

11 pleadings on file in this case and such other evidence as may be presented to the Court.

12            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),
13 any opposition or response to the Motion must be filed and served at least 14 days before the date

14 of the hearing. Pursuant to Local Bankruptcy Rule 9013-1(h), the Court may treat failure to timely

15 file documents consent to the relief requested in the Motion.

16

17 DATED: July 12, 2023                           DANNING, GILL, ISRAEL & KRASNOFF, LLP

18

19
                                                  By:         /s/ Alphamorlai L. Kebeh
20                                                      ALPHAMORLAI L. KEBEH
                                                        General Bankruptcy Counsel for Jinzheng Group
21                                                      (USA) LLC, Debtor and Debtor in Possession
22

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                      I.
 3                                       FACTUAL BACKGROUND
 4 A.         Bankruptcy Facts
 5            On August 24, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief

 6 under chapter 11 of the Bankruptcy Code. The Debtor continues in possession of its property and

 7 is operating and managing its business as a debtor in possession pursuant to the provisions of 11

 8 U.S.C. §§ 1107(a) and 1108.

 9

10 B.         The Arcadia Property
11            On or about December 18, 2019, 150 La Sierra LLC, a California Limited Liability, was

12 organized. The Debtor held a 79% interest in 150 La Sierra LLC. On or about January 23, 2020,

13 the Debtor transferred its interest in real property located at 150 East La Sierra Drive, Arcadia, CA

14 91006 (the “Property”) to 150 La Sierra LLC (the “Transfer”).

15            On July 5, 2022, the Debtor filed its Motion for Order Approving Compromise Between

16 Debtor and 150 La Sierra LLC (docket no. 278) (the “2022 Compromise Motion”). In the 2022

17 Compromise Motion, the Debtor asserted that the Transfer was an avoidable fraudulent transfer and

18 requested that the Court approve a compromise whereby 150 La Sierra LLC would transfer all of

19 its right, title, and interest in the Property to the Debtor, among other things. The court entered an

20 order granting the 2022 Compromise Motion on July 20, 2022 (docket no. 322).

21

22 C.         The Sale of the Property and the Sound Note
23            On or about October 24, 2022, the Debtor filed its Motion to Authorize Sale of Real

24 Property Located at 150 East La Sierra Drive, Arcadia, California 91006 Free and Clear of Liens

25 (docket no. 420) (the “Sale Motion”). The Sale Motion sought to sell the Property free and clear of

26 liens against the Property. This included a lien arising from a deed of trust in favor of Sound,

27 securing a promissory note in the original principle amount of $2,340,000 (the “Sound Note”).

28 The Debtor asserted that certain amounts owed to Sound on account of the Sound Note, such as

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 1 default interest, interest and other miscellaneous fees were subject to a bona fide dispute within the

 2 meaning of 11 U.S.C. § 363(f)(4), and requested authority to pay Sound’s undisputed claim upon

 3 closing, and to hold the disputed amounts in escrow, pending further adjudication and Court order.

 4 On November 22, 2022, the Court entered an order authorizing the Sale Motion and authorizing the

 5 Debtor to withhold proceeds in an amount equal to the value of Sound’s charges for default

 6 interest, attorneys’ fees, and certain other fees, plus an additional $5,000. The Debtor is currently

 7 holding approximately $278,964.97 (as of May 25, 2023) in escrow, pending resolution of the

 8 disputed charges (the “Disputed Funds”).

 9

10 D.         Proposed Compromise with Sound
11            Subsequent to the entry of the Court’s order granting the Sale Motion, counsel for both

12 Sound and the Debtor discussed the merits of their respective claims to the Disputed Funds.

13 Ultimately, counsel for both parties realized that, rather than litigating, evenly dividing the sum of

14 the Disputed Funds would be more beneficial and cost-effective, and would minimize the risk of an

15 adverse ruling, for both parties. To avoid, among other things, the costs, risks, and uncertainties of

16 litigation, the Debtor and Sound entered into an agreement to resolve the disposition of the

17 Disputed Funds, subject to Court approval (the “Agreement”). Without modifying in any respect

18 the terms set forth therein, the Agreement’s terms include:

19            1.       The Disputed Funds will be split between the Debtor and Sound equally.

20            2.       The Debtor and Sound will exchange mutual releases of liability relating to the

21 Disputed Funds.

22

23                                                       II.
24                                            LEGAL ARGUMENT
25 A.         Standards for Approval of Compromise
26            Inherent in the grant of jurisdiction to the district courts over all civil proceedings arising

27 under, arising in or related to cases under title 11 is the Court’s authority, under Section 105(a) of

28 the Bankruptcy Code, to enter orders approving compromises. This power is expressly recognized

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 1 in Bankruptcy Rule 9019(a), which provides that the Court may approve a compromise or

 2 settlement on motion by the trustee after notice is provided pursuant to Bankruptcy Rule 2002. The

 3 approval of a compromise is a “core proceeding” under 28 U.S.C. § 157(b)(2)(A) and (O). In re

 4 Carla Leather, Inc., 50 B.R. 764, 775 (Bankr. S.D.N.Y. 1985).

 5            The approval or rejection of a proposed compromise is addressed to the sound discretion of

 6 the Court and is to be determined by the particular circumstances of each case. In re Walsh

 7 Construction, Inc., 669 F.2d 1325, 1328 (9th Cir. 1982). The burden of establishing the fairness of

 8 the compromise rests on the proponent, here, the Debtor.

 9            In determining the acceptability of a proposed compromise, the following four factors

10 should be considered: (1) the probability of success in the litigation; (2) the difficulties, if any,

11 encountered in the matter of collection; (3) the complexity of the litigation involved, the expense,

12 inconvenience and delay necessarily attending it; and (4) the paramount interest of the creditors and

13 a proper deference to their reasonable views. In re A & C Properties, 784 F.2d 1377, 1381 (9th

14 Cir. 1986); Flight Transportation Corporation Securities Litigation, 730 F.2d 1128, 1135 (8th Cir.

15 1984). This Court is not required to decide the questions of law and fact in dispute, but to canvas

16 the issues to see whether the “settlement falls below the lowest point in a range of reasonableness.”

17 In re Teletronics Services, Inc., 762 F.2d 185, 189 (2d Cir. 1985) (quoting In re W.T. Grant Co.,

18 699 F.2d 599, 608 (2d Cir. 1983)).

19

20 B.         The Agreement is in the Best Interest of the Estate and Should be Approved under
21            Bankruptcy Rule 9019
22            The Debtor believes that the Agreement is fair and reasonable, in the best interest of the

23 estate and its creditors, and satisfies the standards for approval of a settlement. With respect to the

24 factors set forth in A & C Properties, the Debtor believes that the Agreement should be approved

25 for the reasons discussed below.

26            1.       The Probability of Success in Litigation
27            In the Sale Motion, the Debtor’s primary argument against allowance of Sound’s default

28 interest, attorneys’ fees, and other miscellaneous fees relies on principals of equity and

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 1 reasonableness. While the case law cited in the Sale Motion supported this argument, the Debtor

 2 recognizes that whether the Court will ultimately disallow such disputes amounts depends on the

 3 factual circumstances surrounding the request. Although the Debtor here believes in its position, it

 4 is uncertain that the Court would find that Sound’s default interest, attorneys’ fees, and

 5 miscellaneous charges are inequitable or unreasonable. Thus, this factor weighs in favor of

 6 settlement.

 7            2.       Difficulties in Collection
 8            The Debtor does not expect any difficulty in collection. The Disputed Funds are being held

 9 in escrow, pending further instruction from the Court.

10            3.       Complexity, Expense, Inconvenience, and Delay of Litigation
11            As stated earlier, the Debtor’s primary argument against the allowance of Sound’s default

12 interest, attorneys’ fees, and other miscellaneous fees is are based on equitable principals and

13 reasonableness. Thus, to support these arguments, the Debtor would be required to conduct a

14 comprehensive factual investigation relating to the circumstances under which the Debtor executed

15 the Sound Note, the various fees and charges asserted by Sound over the life of the Sound Note,

16 and the economic climate at the time of the Sound Note’s negotiation and execution. Depending

17 on the feasibility of obtaining relevant documents and their volume, such analysis could consume a

18 significant amount of time and could therefore become even more expensive than the value of the

19 Disputed Funds. Settling according to the terms of the Agreement, on the other hand, would avoid

20 all of this expected expense and result in the immediate influx of cash in the Debtor’s estate. Thus,

21 this factor weighs in favor of settlement.

22            4.       Interest of Creditors
23            The Agreement reached by the Debtor with Sound serves the paramount interest of

24 creditors. The Agreement would immediately add approximately $139,482.49 to the estate while

25 simultaneously eliminating the administrative fees and expenses that would have been incurred in

26 litigating over the Disputed Funds. Thus, this factor supports approval of the Agreement.

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 1                                                      III.
 2                                               CONCLUSION
 3            Based upon the foregoing, the Debtor respectfully requests that the Court:

 4            1.       grant the Motion;
 5            2.       approve and authorize the Debtor to enter into the Agreement, a copy of which is
 6                     attached to the Declaration of Zhao Pu Yang as Exhibit “1”;

 7            3.       authorize the Debtor to execute all documents and to take any action reasonably
 8                     necessary to effectuate the Agreement; and

 9            4.       For such other and further relief as the Court may deem just and proper.
10

11 DATED: July 12, 2023                           DANNING, GILL, ISRAEL & KRASNOFF, LLP

12

13
                                                  By:         /s/ Alphamorlai L. Kebeh
14                                                      ALPHAMORLAI L. KEBEH
                                                        General Bankruptcy Counsel for Jinzheng Group
15                                                      (USA) LLC, Debtor and Debtor in Possession
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 1                                  DECLARATION OF ZHAO PU YANG

 2            I, Zhao Pu Yang, declare as follows:

 3            1.       I am the Attorney in Fact for Jianqing Yang, Managing Member of Jinzheng Group

 4 (USA) LLC. I am also the son of Jianqing Yang.

 5            2.       All facts in this declaration are based upon my personal knowledge, discussions

 6 with the Debtor’s or my own advisors, brokers or counsel, and/or my personal opinion based upon

 7 my experience and general knowledge about the Debtor.

 8            3.       I am over the age of 18 and am authorized to submit this declaration on behalf of the

 9 Debtor. If called to testify, I would testify to the matters set forth in this declaration.
10            4.       I submit my declaration in support of the Debtor’s Motion for Order Approving

11 Compromise Between Debtor and Sound Equity Inc. (the “Motion”).

12            5.       Through counsel, Sound and I have agreed to settle our disputes and have reached

13 an agreement (the “Agreement”) with respect to the division of certain proceeds held in escrow

14 subsequent to the Debtor’s sale of its interest in real property located at 150 East La Sierra Drive,

15 Arcadia, CA 91006. A true and correct copy of the Agreement is attached hereto as Exhibit “1.”

16            6.       I believe that the Agreement is the most effective and efficient way to generate cash

17 for the Debtor’s estate. In my business judgment, I believe that the proposed Agreement is fair and

18 reasonable, in the best interest of the estate and its creditors, and satisfies the standards for approval

19 of a settlement.
20

21            I declare under penalty of perjury under the laws of the United States of America that the

22 foregoing is true and correct.

23                                                 12 2023.
              Executed at _________, China on July __,

24

25
                                                        ZHAO PU YANG
26
27

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                               EXHIBIT 1
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                                                 SETTLEMENT AGREEMENT

                  This settlement agreement (the "Agreement") is made by and between Jinzheng Group
            (USA) LLC, debtor and debtor-in-possession in bankruptcy case no. 2:21-bk-16674 (the
            "Debtor"), on the one hand, and Sound Equity Inc. on the other hand ("Sound"). The Debtor and
            Sound are referred to herein, all together, as the "Parties."

                                                             RECITALS

                    A.      On or about December 18, 2019, 150 La Sierra LLC, a California Limited
            Liability, was organized. The Debtor held a 79% interest in 150 La Sierra LLC.

                    B.     On or about January 23, 2020, the Debtor transferred its interest in real property
            located at 150 East La Sierra Drive, Arcadia, CA 91006 (the "Property") to 150 La Sierra LLC
            (the "Transfer").

                    C.     On August 24, 2021 (the "Petition Date"), the Debtor filed a voluntary petition for
            relief under chapter 11 of the Bankruptcy Code.

                     D.       On July 5, 2022, the Debtor filed its Motion for Order Approving Compromise
            Between Debtor and 150 La Sierra LLC (docket no. 278) (the "Compromise Motion"). In the
            Compromise Motion, the Debtor asserted that the Transfer was an avoidable fraudulent transfer
            and requested that the Court approve a compromise whereby 150 La Sierra LLC would transfer
            all of its right, title, and interest in the Property to the Debtor, among other things.

                   E.      On July 20, 2022, the Court entered an order granting the Compromise Motion
            (docket no. 322) and effectively transferring the Property to the Debtor.

                   F.     On or about January 15, 2020, a note in favor of Sound (the "Sound Note") was
            executed and secured by a deed of trust recorded against the Property. The original principal
            amount of the Sound Note was $2,340,000.

                   G.      On or about October 24, 2022, the Debtor filed its Motion to Authorize Sale of
            Real Property Located at 150 East La Sierra Drive, Arcadia, California 91006 Free and Clear
            of Liens (docket no. 420) (the "Sale Motion").

                    H.     In the Sale Motion, the Debtor sought to sell the Property free and clear of
            Sound's lien against the Property. The Debtor asserted that certain amounts owed to Sound on
            account of the Sound Note, such as default interest, interest and other miscellaneous fees were
            subject to a bona fide dispute within the meaning of 11 U.S.C. § 363(0(4), and requested
            authority to pay Sound's undisputed claim upon closing, and to hold the disputed amounts in
            escrow, pending further adjudication and Court order.

                    I.     On or about November 22, 2022, the Court entered an order granting the Sale
            Motion and confirming the sale of the Property to a third party free and clear of all liens and
            interests (docket no. 455) (the "Sale Order"). The Sale Order further provided that the
            encumbrances resulting from the Sound Note attached to like amounts of the net sale proceeds
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                                                                                      EXHIBIT 1             9
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            with the same force, effect, validity, and priority, if any, that they enjoyed with respect to the
            Property. The Sale Order also granted the Debtor authority to withhold proceeds in an amount
            equal to the value of Sound's charges for default interest, attorneys' fees, and certain other fees,
            plus an additional $5,000.

                    J.      While Sound received $1,697,820.71 of undisputed funds upon closing, the
            Debtor is currently holding approximately $278,964.97 (as of May 25, 2023) in escrow, pending
            resolution of the disputed charges (the "Disputed Funds").

                    K.      After engaging in arm's-length negotiations, to avoid the expense, risk, delay, and
            uncertainty of litigation, the parties wish to resolve their disputes regarding the Disputed Funds
            without litigation, upon the terms and subject to the conditions set forth in this agreement,
            subject to Bankruptcy Court approval.

                                                  TERMS AND CONDITIONS

                   Based on the mutual promises contained herein and for other good and valuable
            consideration, the receipt of which is acknowledged, the parties agree as follows:

                    1.     Recitals Acknowledged. Each of the Parties acknowledges that, to the best of the
            Party's knowledge, each of the foregoing recitals is true and correct in every material respect and
            is incorporated into this agreement.

                   2.      Court Approval Required. This agreement is subject to the approval of the
            Bankruptcy Court after notice and hearing. Following execution hereof, the Debtor shall file a
            motion for an order approving the agreement (the "Approval Order") under Federal Rule of
            Bankruptcy Procedure 9019.

                    3.     Division and Delivery of Disputed Funds. The Approval Order will direct the
            escrow company to make distributions of the Disputed Funds, net of any escrow or banking fees,
            as follows: 50% to the Debtor, and 50% to Sound. Immediately upon the Court's entry of the
            Approval Order, the Debtor will be authorized to instruct the escrow agent to immediately
            release the Disputed Funds in accordance with the Approval Order and this Agreement.

                    4.      Mutual Releases. The Parties hereby release and discharge each other from any
            and all claims, grievances, liabilities, obligations, promises, agreements, controversies, damages,
            actions, causes of action, suits, rights, demands, and costs, whether at law or equity, known or
            unknown, suspected or unsuspected, contingent or fixed with respect to the Disputed Funds.

                   5.    Waiver of Claims. Except for the right to payment described in Paragraph 3
            above, Sound waives any claims against the estate, whether administrative, secured or unsecured.

                    6.      Notices. All notices, demands or communications pursuant to this agreement
            shall be in writing and shall be deemed to have been duly given if delivered in person, by United
            States mail, or by overnight service, as follows:



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                              (a)    To the Debtor:
                                     Alphamorlai L. Kebeh
                                     Email: akebeh@DanningGill.com
                                     Danning, Gill, Israel & Krasnoff, LLP
                                     1901 Avenue of the Stars, Suite 450
                                     Los Angeles, CA 90067-6006

                              (b)    To counsel for Sound:
                                     Paul J. Leeds
                                     Email: pleeds@fsllaw
                                     Franklin Soto Leeds, LLP
                                     444 West C Street, Suite 300
                                     San Diego, CA 92101

                     7.      Interpretation. If there is a dispute over the meaning of any provision, this
            agreement shall not be interpreted against any of the Parties, regardless of which one prepared
            the initial draft hereof.

                    8.      Jurisdiction; Applicable Law. The Bankruptcy Court presiding over the
            bankruptcy case shall have and retain sole and exclusive jurisdiction to interpret and enforce the
            terms of this agreement as a core matter, without a right to jury trial or, if required by any
            applicable law, with a jury before such Bankruptcy Court, and the Parties hereby consent and
            submit to entry of a final order or final judgment by the Bankruptcy Court. This agreement shall
            be interpreted and enforced pursuant to the laws of the United States of America, and where
            State law is required to be applied, California law shall apply.

                   9.      Costs and Attorneys' Fees. Each Party shall bear his, her, their or its own costs,
            expenses and attorneys' fees, if any, heretofore incurred in the matters that are the subject of this
            agreement to date. However, in the event it becomes necessary for any Party to take any action
            to compel enforcement of the terms of this agreement, the prevailing party shall be entitled to all
            reasonable attorneys' fees and costs incurred to compel such enforcement.

                    10.    No Admission. This Agreement represents a compromise of claims that are
            disputed by the Parties. Neither the payment of the consideration, nor anything contained in this
            Agreement, shall be construed as an admission by any party and shall not be used against any
            party as evidence or otherwise to prove any fact or issue with respect to that party in any legal
            action.

                    11.     Successors and Assigns. This Agreement is binding upon and shall inure to the
            benefit of the Parties hereto, and their respective attorneys, agents, heirs, administrators,
            predecessors, successors and assigns. This Agreement shall be binding on any successor trustee,
            chapter 7 trustee, reorganized debtor, post-confirmation debtor, or revested debtor, as applicable.

                    12.    Authority to Sign. The person signing below on behalf of each Party, and each
            Party, represents that the signing person has the authority to execute this Agreement on behalf of
            said Party, and that it is not necessary for any other Party to inquire further into the validity of
            execution or authority to execute.
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                   13.     Execution. This agreement may be executed in one or more counterparts, each of
            which shall be deemed an original, but all of which together shall constitute one and the same
            instrument.

                    14.    Entire Agreement. This agreement constitutes the entire agreement between and
            among the Parties concerning the subject matter hereof. There are no other understandings,
            representations, or agreements, oral or otherwise, between and among the Parties concerning the
            subject matter of this agreement.

                   15.       Amendments; Modifications; Waiver. This agreement may not be modified,
            superseded, terminated, or amended and no provision hereto may be waived except by: (i) a
            writing, making specific reference hereto, signed by the Parties and approved by the Bankruptcy
            Court; or, (ii) an order of the Bankruptcy Court which has become final.

                   16.     Further Assurances. The Parties shall promptly execute and deliver, as
            appropriate, such other and further documents as may be necessary to effectuate the terms of this
            agreement.

                   17.    Counterparts. Each Party may sign an electronic mail, PDF, or facsimile copy of
            this Agreement, in counterparts, with the same effect as if each Party had signed an original of
            the same document.

                     AGREED:

            DATED: July 10 , 2023                            JINZHENG GROUP (USA) LLC


                                                                       .Z/zzura 147
                                                             By Zhou Pu Yang, its Authorized Representative



                     AGREED:

            DATED: July 10 , 2023                            SOUND EQUITY INC.




                                                             By Ken Hansen        , its Authorized
                                                             Representative


                                             [Signatures Continued on Next Page]

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                    APPROVED BY COUNSEL:

            DATED: July1 0 , 2023                            DANNING, GILL, ISRAEL & KRASNOFF, LLP




                                                             By ZEV SHECHTMAN, Attorneys for Debtor and
                                                             Debtor-in-Possession, JINZHENG GROUP (USA)
                                                             LLC


                    APPROVED BY COUNSEL:

            DATED: July 10 , 2023                            FRANKLIN SOTO LEEDS, LLP




                                                             By PAUL J. LEEDS, Attorneys for SOUND
                                                             EQUITY INC.




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       Title                                            Jinzheng - Sound Settlement Agreement

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       Status                                           0 Signed



        Document History

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                 3
               SENT              01:38:29 UTC           (yangzhaopu5555@gmail.com) from zshechtman@dgdk.com
                                                        IP: 38.88.161.178




               C)                07 /10 /2023           Viewed by Zhou Pu Yang (yangzhaopu5555@gmail.com)
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF MOTION AND MOTION
FOR ORDER APPROVING COMPROMISE BETWEEN DEBTOR AND SOUND EQUITY INC.; MEMORANDUM OF
POINTS AND AUTHORITIES AND DECLARATION OF ZHAO PU YANG IN SUPPORT THEREOF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) July 12, 2023 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On July 12, 2023 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is
filed.


                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  July 12, 2023                           Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
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David M Browne on behalf of Defendant CBW Global Inc.
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David M Browne on behalf of Defendant CBW Global, Inc.
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David M Browne on behalf of Defendant Betty Zheng
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David M Browne on behalf of Defendant Betty Bao Zheng
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Alphamorlai Lamine Kebeh on behalf of Plaintiff JINZHENG GROUP (USA) LLC
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                                    Main Document     Page 19 of 20
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Eric A Mitnick on behalf of Interested Party Courtesy NEF
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Giovanni Orantes on behalf of Other Professional Orantes Law Firm, P.C.
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m.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com

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Matthew D. Resnik on behalf of Interested Party Courtesy NEF
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Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
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2. SERVED BY U.S. MAIL
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                                              Los Angeles, CA 90012




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